Case 1:05-cr-10028-.]DT Document 15 Filed 04/27/05 Page 1 of 2 Page|D 14

United States District Cour{:\LED IN OP N §UF‘T'»
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Western District of Tennessee DATE: '
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PS 42
(Rcv 7193]

United States of America )
)
vs )
)
)

Shena Marie Greer Case No. OS-IOOZS-OOI»T

CONSENT TO MODIFY CONDI'I`IONS OF` RELEASE

l, Shena Marie Greer have discussed With Jake N. Bookard, II, Pretrial Services Officer,
modification of my release conditions as follows:

 

l. Ref`rain from any use or unlawful possession of a narcotic drug or other controlled substances
2. Submit to any method of testing required by the Pretrial Services Off`ice for determining
Whether the defendant is using a prohibited substance

3. Participate in a program of inpatient or outpatient substance abuse testing, education or
treatment if deemed advisable by Pretrial Services

l consent to this modification of my release conditions and agree to abide by this modification

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Signature of Def`endant Date trial Services Officer Datc

I have reviewed the c nditions With my client and concur that this modification is appropriate
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Signature ot` Defenp(€ounsel Date

' /
mabove modification of` conditions of release is ordered, to be effective on (`/ f 37 io.)

[ ] The above modification of conditions of release is n_ot ordered.

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Signature of.ludicial Ot`ticcr Date

Th'is document entered on the dockets eat In com liance
with sole ss ana/or sam msch on ' 'O

 

DISTRIC COUR - WESRNTE D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 15 in
case l:05-CR-10028 Was distributed by f`aX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

